Case 2:04-cr-20504-.]DB Document 5 Filed 08/08/05 Page 1 of 2 Page|D 8

  

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UNITED sTATEs DISTRICT cOURT """_~*-- ~
FOR THE 02 AUF __ .
WESTERN DISTRICT 0F TENNESSEE ‘J ’ 3 Pi`i 31311
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UNITED sTATEs 0F AMERICA ) id
) CR. No. 04-20504-B/v
vs. )
)
ANNIE RASH )

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UENDUM

 

V. Rae Oliver, AUSA applies to the Court for a Writ to have Annie Rash-Booking No.
4920048 now being detained in the Shelb Count Jail, appear before Judge Tu M. Pham on
_6t_h, Auaust 15. 2005, at 2:00 p.m. for an Initial Appearance and for such other appearances as
this Conrt may direct.

Respectfully submitted this M day of Au st, 2005.

@@w'

V. RAE OLIVER
Assistant U. S. Attorney

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Upon consideration of the foregoing Application,
DAVID JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
sHERIFF/WARDEN, Mark Luttrell

YOU ARE HEREBY COMMANDED to have Annie Rash-Booking No. #4920048 appear before the

Honorable Judge Pham at the date and time aforementioned.

ENTEREDthiS ( day of ,2005.

U./

UNITED STATI§s M’AGISTRATE JUDGE

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` d cument entered on the docket s§e:t§ io@p 155
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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CR-20504 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

